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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                          SOUTH BEND DIVISION


UNITED STATES OF AMERICA              )
                                      )
            vs.                       )        CAUSE NO. 3:01-CR-50 (1) RM
                                      )
DION FREEMAN                          )


                             OPINION AND ORDER

      Dion Freeman pleaded guilty to a charge of bank robbery in violation of 18

U.S.C. § 2113(a) and was sentenced to term of 100 months’ imprisonment. He is

now before the court asking that he be furnished a copy of the transcripts of these

proceedings without cost.

      Congress has expressly addressed the question of furnishing transcripts at

public expense in 28 U.S.C. § 753(f), which provides in pertinent part:

      Fees for transcripts furnished in criminal proceedings to persons
      proceeding under the Criminal Justice Act (18 U.S.C. § 3006A), or in
      habeas corpus proceedings to persons allowed to sue, defend, or
      appeal in forma pauperis, shall be paid by the United States out of
      moneys appropriated for those purposes. Fees for transcripts
      furnished in proceedings brought under section 2255 of this title to
      persons permitted to sue or appeal in forma pauperis shall be paid by
      the United States out of money appropriated for that purpose if the
      trial judge or a circuit judge certifies that the suit or appeal is not
      frivolous and that the transcript is needed to decide the issue
      presented by the suit or appeal.

      Thus, a party may receive a transcript at the government’s expense only if

the transcript is being “furnished in criminal proceedings” or, upon a further

showing, in connection with “proceedings brought under [28 U.S.C. §] 2255.” Mr.

Freeman didn’t appeal his conviction or sentence and never filed a § 2255 petition,
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so his criminal and civil proceedings in this court have ended. Therefore, § 753(f)

doesn’t authorize Mr. Freeman to receive transcripts free of charge, and his

request [Doc. No. 181] therefore is DENIED.

      SO ORDERED.

      ENTERED:      May 23, 2007



                                  /s/ Robert L. Miller, Jr.
                               Chief Judge
                               United States District Court




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